

Matter of Downtown New Yorkers Inc. v City of New York (2021 NY Slip Op 03524)





Matter of Downtown New Yorkers Inc. v City of New York


2021 NY Slip Op 03524


Decided on June 03, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 03, 2021

Before: Manzanet-Daniels, J.P., Kapnick, Mazzarelli, Oing, JJ. 


Index No. 158550/20 Appeal No. 14006 Case No. 2020-04588 

[*1]In the Matter of Downtown New Yorkers Inc. et al., Petitioners-Appellants,
vThe City of New York et al., Respondents-Respondents, Ramone Buford et al., Intervenors-Petitioners-Appellants- Respondents, Lou Pastures, Intervenor-Respondent-Respondent, Gary Kokalari et al., Proposed Intervenors-Respondents- Respondents-Appellants.


Hiller P.C., New York (Michael S. Hiller of counsel), for Ramone Buford, Larry Thomas and Travis Trammell, appellants-respondents.
Gibson, Dunn &amp; Crutcher LLP, New York (Randy M. Mastro of counsel), for Gary Kokalari, Robert Montano, Emily Samuels and West Side Community Organization, Inc., respondents-appellants and Lou Pastures, respondent.
James E. Johnson, Corporation Counsel, New York (Janet L. Zaleon of counsel), for municipal respondents.



Appeals from judgment, Supreme Court, New York County (Debra A. James, J.), entered November 25, 2020, denying the petition to annul the municipal respondents' decision, announced on September 25, 2020, to relocate the intervenor-petitioners from the Lucerne Hotel to the Radisson Hotel and to enjoin the municipal respondents from relocating them, vacating a temporary restraining order enjoining the relocation, denying the proposed intervenor-respondents' motion to intervene, and dismissing the proceeding brought pursuant to CPLR article 78, unanimously dismissed, without costs, as moot.
The intervenor-petitioners' appeal challenging the municipal respondents' determination to relocate them from the Lucerne Hotel to the Radisson Hotel is moot because the intervenor-petitioners have all moved out of the Lucerne and secured separate housing (see generally Matter of Hearst Corp. v Clyne , 50 NY2d 707, 714 [1980]).M-1022 - Downtown New Yorkers Inc. v City of New York 
Motion by intervenor-petitioners to strike, granted to the extent of striking proposed intervenor-respondents' reply affirmation in further support of proposed intervenor-respondents' motion to dismiss appeal, and otherwise denied.M-91 - Downtown New Yorkers Inc. v City of New York 
Motion by the municipal respondents to dismiss appeal and vacate the stay issued by this Court, granted.M-674- Downtown New Yorkers Inc. v City of New York 
Motion by Lou Pastures and proposed intervenor-respondents to dismiss appeal and vacate stay, denied as moot.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 3, 2021








